Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1941 Filed 12/20/23 Page 1 of 10 WY

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DEC 20 2993 UNITED STATES DISTRICT COURT

CLERK'S OFFICE EASTERN DISTRICT OF MICHIGAN
ETROIT SOUTHERN DIVISION POOR
QUALITY ORIGINAL
Elizabeth Nelson
PO Box 1422
WARREN MI 48090 Case No. 2:22-cv-10918
ALBERT THROWER
Judge: MATTHEW LEITMAN
Plaintiffs(s)
-Vs- Magistrate: Anthony P. Patti
Jury Trial Demanded
3rd AMENDED Complaint
42 USC Section 1983
Michigan state law
Trespassing, theft of vehicles,
Theft,
$50 Million USD
SERVICE TOWING INC
6006 Rinke Ave

Warren MI 48091

ABLE TOWING LLC etal.,

RESPONSE TO DEFENDANT SERVICE TOWING, HERTZ BROTHERS
MOTION TO DISMISS

CONSOLIDATED INSTANTER MAILED 12/16/23 WITH NOTICE OF LATE
IMPEACHING DISCOVERY OF TAPE RECORDED CONVERSATION OF (D)
ROBERT SCOTT MADE ON OR ABOUT 4/15/20 FROM ROBERT SCOTT
CALLING (P) THROWER TAPE MADE IN OHIO Ex 10 AFFIDAVIT

Service Towing Inc., = STI, Able Towing LLC= AT LLC, Hertz Brothers= Bruce
Hertz, DENNIS HERTZ, SANDRA HERTZ , Randy Sullivan defendants filed a

MOTION TO DISMISS.
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This is (Ps’) response. STI cites case Robertson et al., v Breakthrough Towing

LIC et al., as grounds to dismiss.

1) This case has to do with private property commercial establishments, CVS,
McDonald’s Inc employees acting in a scheme with tow companies to tow
customer vehicles. There was minimal police or “state actor” involvement.
The Court still found a claim against “state actor” police departments to
survive plaintiffs’ motion to dismiss in that case.

2) The 4" Amendment in the United States Constitution delineates “homes” as
quoted infra

Fourth Amendment

“The right of the people to be secure in their persons, houses, papers, and effects,
against unreasonable searches and seizures, shall not be violated, and no warrants
shall issue, but upon probable cause, supported by Oath or affirmation, and
particularly describing the place to be searched, and the persons or things to be

seized.”

The language of same delineates “right of the people to be secure in their
persons, homes, papers, effects, against unreasonable searches and seizures,

shall not be violated...”, by “state actors”, “government officials” or private

parties acting “in concert”, “conspiracy” with same. (PN) 4 vehicles were at her
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“home”. (PT) had “personal property” removed from his MI “home” by “state

actors” (D) Scott, Does

A) 7568 Hudson Ave Warren per Ex 1, PN lease, Ex 2 PT lease is 7568 Hudson
Ave Warren MI., Ex 3 PN driver’s license, Ex 4 PN mail. Ex 25, 26 (PN) tax
returns showing 7568 Hudson Ave address, Ex 27 Summer Tax Bill-shows
ownership Ex 13- 4 pg deed, Ex 14 Adjacent lot ownership, Ex 10 (PN)
PNC Online Banking form, Ex 11: DTE Energy Bill “7568 Hudson Ave
Warren”, Ex 12 Consumer’s Energy Bill same time, same address, Ex 17
Insurance papers pg 1-4, Ex 21 Michigan SOS LARA statement for

ownership “Saint Anthony the Great ..Monastery”. See

Ex 22; 2011 NILI et al v City of Warren et al, consent decree @ para 12 where
(D) city of Warren agrees to obtain administrative warrant if denied entry, yet
per Ex 37 Warren Receipt, (D) Scott repeatedly enters (Ps’) property 3/25/20,
5/19/20 durking covid fining (Ps) almost $1000 cutting grass that per Ex 30
Gov Whitmer & (D) Fouts order was ordered NOT to be cut for other “overt
acts”. Per Ex 35 (PT) 3/30/20 letter “prostate cancer”- getting ready to be
treated with radiation for 40 straight days, “at risk” person as defined by Ex 30
Covid 2/23/20 (D) Fouts order. (PT) also had a heart attack @ 7568 Hudson
Ave 2018 & had three stents put in @ Beaumont Hospital Ex 8. (Ds’) STI

Towing, Hertz Bros worked with “state actors” (D) SCOTT, Doe-Kijewski (ex

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warren police officer making $105,000 in 2017) and others to cause a “state
created risk” SCR towing cars during covid lock down. (Ps’) agree that (Ds’)
did not cause covid, but their actions created a SCR taken as a whole where
“(Ps) were placed in a more risky situation, they thinking that there cars were
“stolen”, as (Ps’) were told by MICH resident, “there cars were gone”. Even the
tape recorded conversations, referenced infra, (PT) was led to believe that (D)
Scott would NOT tow his cars, because of covid and (PT) told (D) Scott he was
“diagnosed with prostate cancer and had be treated with radiation for 40 straight
days”. Ex 31 Affidavit. See Ex 28 (Ds’) Fouts, city Warren finally closing city

hall 11/20 because of covid.

Robertson et al., v Breakthrough Towing et al., infra has to do with private
towing company towing from business parking lot with minimal police
involvement. The judge in Robertson et al., v Breakthrough Towing et al.
analyzed the facts and still found that sued police departments allegation of a
conspiracy survived a motion to dismiss with limited alleged involvement
including claim of failing enter cars into LEINS computer database after tow
company reported same. The 4 Amendment applies to “state actors”
involvement, private parties cannot violate the 4 14° Amendment unless acting in
concert, tandem, conspiracy with state actors. (Ps’) case is differentiated because

“state actors”, (D) Scott, Doe Kijewski et al., with (Ds’) STI, AT LLC, Hertz

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Bros., (D) Sullivan entered (Ps’) private property curtilage and towed 4 cars.
(Ds’) STI, Hertz Bros falsified the address the cars were towed from as set forth
infra-an “overt act” and submitted falsified paperwork to Warren Police
Department, who in turn submitted to Michigan Secretary of State, Ex 32 pages 1-
2, which generated PETITION FOR HEARING ON ABANDONED VEHICLE,

showing “falsified address”, “05/01/2020 7528 Hudson Ave Warren”-toward

bottom of Petition-which were then mailed 4x to (PN) another “overt acts” in the

conspiracy.

As lawyer for tow company (Ds’) STI Hertz Bros., pointed out, @ pg. 10
“Sixth Circuit in Nugent v Spectrum Juv Just Servs, 72 F4th 135, 139-
140..recognized that several tests have been employed to determine when a private
entity may qualify as a state actor, including the entwinement test. The test requires
Plaintiffs to show that PRIVATE ENTITY is ‘entwined in the private entity’s
management or control.” Brentwood Acad v Tenn Secondary Scholl Athletic Ass’n,
121 SCt 924. In this case (Ps’) allege simple facts in complaint that tow company
STI, Hertz Bros defendants were called to tow cars off private property by “state
actors”. See Ex ADMISSIONS. As noted, (Ds’) STI, AT LLC, HERTZ BROS
tow company claims they have a contract with (D) city of Warren that mandates
they comply with city of Warren employees requests. As noted, (Ds’) STI towing

company have not provided the contract. Further, a contract does not make them

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immune from violating United States Constitutional rights 4, 5, 14" Amendment
and state laws and in fact shows “as to the elements of these three theories..nexus
test, state compulsion test, and conspiracy framework are all sufficient bases on
which to find the private company defendants liable under 1983” Memphis Tenn

Local ... v City of Memphis, 361 F3d 898, 905.

(Ds’) STI, Hertz Bros appear confused and argue that since police are not
involved in the illegal tow scheme, then they are not liable. (D) Scott, Doe -
Kijewski, et al., are “state actors” for 42 USC Sec 1983 purposes. 1“, police or (D)
Warren city workers (D) Scott is a “state actor” so it does matter if the police are
involved or not. 2°) Ex 19 pg 1-4 receipts from (D) STI say “Reqd By: WARREN
POLICE DEPARTMENT”, so if the under oath ADMISSIONS Ex 5-9 police were
NOT involved, creates allegation of further “falsified STI receipt”, to allege
“Warren Police Dept” “Reqd” tow to CYA (Ds’) STI, Hertz Bros. towing cars

during covid pandemic.

Further, under the “Abandoned Vehicle” statute (Ds’) STI, Hertz Bros tow
company are not allowed to tow cars off private property unless called by the
property owner or the police. (Ps’) state that being aware of this (Ds’) STI tow
company, Hertz Bros “falsified the address” the cars were towed from correct

address-where they were titled to 7568 Hudson Ave, to incorrect address of “7528

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Hudson Ave”. Like the tow companies in Robertson v Breakthrough et al, same
argue that state law has exclusive “subject matter jurisdiction”, based in “Mich
Comp L Sec 257.252e(1), ..relies on Gilbert-Rutter v Parkview Towers..WL 2016
3913713 at2 (ED M1).. however Gilbert-Rutter.. concerned a single plaintiff
challenging the one-time tow of a vehicle with expired plates”. See Ex 23 Gilbert-
Rutter v Parkview Towers et al., Case 16-11-10, where Judge in this case
Honorable Judge Patti held correctly dismissing pro’se complaint @ p 3 para 1 “In
Plaintiff's amended complaint, all allegations and claims surround the legality of
the towing of her car from the private property of Defendant Parkview Towers.
Plaintiff admits that she was given 48 hours notice by Parkview towers prior to the
towing of her car. She admits that her car had expired plates, and that the car was
considered abandoned. Plaintiff also admits that the lease that she received from
Parkview states that a vehicle can be towed for expired plates. Plaintiff also admits
in her complaint that she could have retrieved her vehicle from the police but did
not pay the required fee. Per MCL §257.252a(2)(a), an abandoned vehicle is
defined as, inter alia, “[a] vehicle that has remained on private property without the
consent of the owner.” Per Plaintiff’s lease, Parkview could remove cars parked on
their property that had expired registration plates. Parkview had a contract with
Goch & Sons Towing..”. Hence the owner of the property, Parkview Towers called

the contracted tow company to tow car with expired plates, after giving 48 hours

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notice pursuant to renter Gilbert-Rutter’s written lease, within the direct language

of the Mich Comp L Sec 257.2523(1) Ex 16 MI Abandoned Vehicle Code.”

Case sub judice, is differentiated because 4 cars were towed, b) towed during
covid lockdown 5/1/20, c) state actors or STI tow company under Mi Abandoned
vehicle code was not allowed on private property to tow cars d) cars had current
plates, insured to same address as (PN) owner’s driver’s license e) Came on private
property without warrant behind a privacy fence f) “falsified the address on the
paperwork 4 cars were towed from and submitted falsified paperwork to Warren
Police Dept which in turn submitted same LIENS computer, Michigan Secretary of
State (SOS) Ex 32 pages 1-2 & Ex 33 MAZDA registration-same address 7568
Hudson Ave. g) “other acts” case 23-cv- 11508 Nelson et al., v Scott et al.,
where same defendants and tow company towed different cars 7/7/21, and tow
company (Ds’) worked with (D) Scott to “set up” (PT) and kidnap, false
imprisonment, assault & battery, citizens arrests (P) Thrower Ex 24 Warren
7/16/21 police report. “scheme... violated federal statutes and constitutional rights
—all ‘arise under the Constitution, laws, treaties of the United States.’ 28 USCA
Sec 1331. This Court has jurisdiction. Carmen Auto Sales III Inc. v City of Detroit,
2018 WL 1326295, @ 3-4”, “explaining: ‘Congress—not state a state legislature—
controls federal court jurisdiction..nothing in Sec 257.252e(1).. limits a federal

court’s jurisdiction to hear federal claims...’” Robertson et al v Breakthrough et
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al., pg. 11. Indeed, per the facts of the complaint, the Michigan Vehicle Code Sec
257.252e(1), does not even apply to the facts accepted as true, since only property
owner or police can authorize tows off private property, which “state actor” (D)
Scott states under oath ADMISSION “police not involved” Ex 9 para “1) Who
contacted Service Towing Inc. ... in re the 4 vehicles towed from 7568 Hudson
Ave., Warren MI 48091 and the adjacent lot 5/1/2020? Response Brian Kijewski-
Area 33 Inspector”, working under Supervisor of Property & Maintenance, (D)
Scott, per under oath response, Doe-Kijewski is not a police officer. “7) Where
you present 5/1/20 @ 7568 Hudson Ave Warren Mi and the adjacent lot when the
4 vehicles were towed?..Response YES...9) Were the Warren police present for
the towing of the 4 vehicles from 7568 Hudson Ave Warren MI 48091 and the

adjacent lot... Response No.”.

Hence, “Breakthrough’s authority to tow vehicles derives from Michigan
Vehicle Code, which allows for the towing of an ‘abandoned vehicle’—that is ‘a
vehicle that has remained on private property without consent of the owner’ Mich
Code L, Sec 257.252a(2)(a). A towing agency may take custody of an abandoned
vehicle through one of two ways: (i) at the direction of a police agency, see Sec
257.252(a)(4), or (ii) at the request of the owner of the private property where the

abandoned vehicle is located, see Sec 257.252a(10).” Hence tow company (Ds’)
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STI, Hertz Bros cannot rely on a state code to violate (Ps) US Constitutional rights

that does not even apply per the facts accepted as true.

Ex 20 pg 1-2 = 4 cars parked on (Ps’) private property. Robertson et al., v
Breakthrough Towing LLC et al, at pg. 2 “Breakthrough’s authority to tow vehicles
derives from Michigan Vehicle Code, which allows for the towing of an
‘abandoned vehicle’—that is ‘a vehicle that has remained on private property
without consent of the owner’ Mich Code L, Sec 257.252a(2)(a). A towing agency
may take custody of an abandoned vehicle through one of two ways: (i) at the
direction of a police agency, see Sec 257.252(a)(4), or (ii) at the request of the
owner of the private property where the abandoned vehicle is located, see Sec
257.252a(10).” The owner of the property, Saint Anthony the Great Orthodox
Monastery, per Ex 21 LARA form Michigan SOS, Ex 13 Deed pages 1-4 includes
5 properties including 8075 Packard Ave Warren where (PN) lived before 7568
Hudson Ave-per Ex 36 expired driver’s license, Ex 14 Adjacent lot. 3 of the cars
were parked on the grass of adjacent lot owned by Saint Anthony the Great
Orthodox Monastery. 1 of the cars 2012 NISSAN Sentra was parked on concrete
as Ex 20 pg 2 clearly shows yet all ADMISSIONS claim cars were ALL parked
on grass. Each car towed also-an “overt act”. That leaves “(i) the direction of a
police agency, see Sec 257.252(a)(4). Per Ex 9 Under Oath Admissions of (D)

Robert Scott, para “1) Who contacted Service Towing Inc. ... in re the 4 vehicles

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towed from 7568 Hudson Ave., Warren MI 48091 and the adjacent lot 5/1/2020?

Response Brian Kijewski-Area 33 Inspector”, working under Supervisor of

Property & Maintenance, (D) Scott, per under oath response, Doe-Kijewski is not a
police officer. “7) Where you present 5/1/20 @ 7568 Hudson Ave Warren Mi and
the adjacent lot when the 4 vehicles were towed?..Response YES...9) Were the
Warren police present for the towing of the 4 vehicles from 7568 Hudson Ave

Warren MI 48091 and the adjacent lot...No.”.

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It is only the (PT) affidavit that states tenant said “police where involved” per
questioning of a tenant that observed same. Police have not been identified or
served in this action. “For Plaintiff's to state a claim for civil conspiracy, ‘all that
must be shown is that there is a single plan, that the alleged coconspirator shared in
the general conspiratorial objective, and that an overt act was committed in
furtherance of the conspiracy that caused injury to the complainant”, Memphis, 361
F3d 905. The “conspiracy” was to tow 4 licensed, , insured cars from (PN) home
and take (PT) personal property during the covid pandemic when “citizens” not
involved in fighting covid were not allowed on the street. It is well settled law that
private parties can “conspired with state actors. (Ds’) STI, AT LLC employees
Hertz Bros., Randy Sullivan acted “in concert”, “conspiracy” with state (Ds’),
engage in conduct under “color of State law,” and may be subject to liability under
section 1983 where they “act jointly” or conspire with state government officials.
See, e.g., Brentwood Acad. v. Tenn. Secondary Sch. Ath. Ass’n, 531 U.S. 288, 296
(2001); Tower v. Glover, 467 U.S. 914, 919 (1984); Dennis v. Sparks, 449 U.S. 24,
27 (1980); cf United States v. Price, 383 U.S. 787, 794 (1966) (holding that, for
purposes of finding liability under the criminal law analogue of section 1983, 18
U.S.C. § 242, private individuals acting jointly with state officers engage in
conduct “under color” of state law). All private defendants ABLE TOWING LLC,

SERVICE TOWING INC., owners (D) EDWARD Hertz (deceased), DENNIS

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HERTZ. BRUCE HERTZ, SANDRA HERTZ and their JOHN DOE*
employees=Randy Sullivan via agency law “act jointly” and / or “conspire with
state government officials” i.e. (D) City of Warren Property & Maintenance
Supervisor Scott et al., Brentwood Acad. V Tenn. Secondary Sch. Ath. Ass’n, supra
with City of Warren MI Property & Maintenance division, (d) Robert Scott,
Cummins, Gus Ghanam, Warack, Kijewski, Does, (Ds’) all acting in their
‘individual capacities” at all times per facts of this complaint and conspired with
private towing company STI, AT LLC and Hertz Bros., Sullivan, employees.

(Ds’) STI, AKA AT LLC, Hertz Bros claim that they were “just fulfilling a
contract”, with (D) city of Warren, yet the existence of a “contract”, “with state and
private actors, so that the action may be attributed to the state’, ‘to take a
particular action so that really that of the state’” Robertson et al v Breakthrough et
al @ 12. See Memphis Tenn Area Loc Am Postal Workers Union AFL-CIO v
Memphis, 361 F3d 898, 905, “that the nexus test, state compulsion test, and
conspiracy framework are all sufficient bases on which to find the private company
liable under Sec 1983..elements of these three theories: * ‘The state compulsion
test requires proof that the state significantly encouraged or .. coerced either
overtly or covertly, to take a particular action so that the choice is really that of the
state.’ Moldowan, 578 F3d at 399. The “particular action” i.e. illegally tow cars,

(Ds’) STI, Hertz Bros., is mandated by their “contract”, “so that the choice is really

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that of the state’ Moldowan, Id.” “.. that the nexus test requires a sufficient close
relationship (i.e. through state regulation or contract) between the state and the
private actor so that the action may be attributed to the state.’” Robertson et al v
Breakthough Towing et al., at 12, i.e., “contract” (Ds’) STI, Hertz Bros claim for
immunity, in the law shows liability, “contract) between the state and private actor
so that the action may be attributed to the state.” Robertson et al v Breakthrough

Towing et al., \d.

* 1983 civil conspiracy occurs where ‘private party has conspired with state
officials to violate constitutional rights, and (3) an overt act was committed.’ Revis
v Meldrum, 489 F3d 273, 290 CA6”, Robertson et al v Breakthrough Towing et al.,
supra@ p12 The fact that the 4 cars were illegally towed is “1983 civil
conspiracy occurs... violate constitutional rights..and (3) an overt act was
committed.’” Overt Act:= Ex 9 (D) “state actor” Warren Property Maintenance
Supervisor Scott ADMISSION, he was there, telephone call Ex 5 (D) Bruce

Hertz ADMISSION, telephone call

Ex 19 (Ds’) STI, Hetz Bros Falsified tow sheets, falsifying the address from
correct address, 7568 Hudson Ave Warren, to incorrect address “7528 Hudson Ave
Warren MI”, that 4 cars were towed from- falsified data was given to Warren
Police Department enter into LIENS computer, See Ex 32 pg 1, 33 Michigan Dept

of State NOTICE OF ABANDONED VEHICLE, Ex 34 Registration all for same

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address two(2) 2012 MAZDAs#1 “Owner Name and Address: 2012 MAZDA

JM1CW2CL0C01363 SW

Elizabeth Luise Nelson (see Ex 34 matching Registration for this MAZDA)
7568 Hudson Ave

Warren MI 48091

DATE VEHICLE ... LOCATION

05/01/2020 7528 Hudson Ave Warren”

“overt act” MAZDA #2: “Owner Name and Address: 2012 MAZDA -Ex 32 pg 2
Abandoned Vehicle Petition (VIN) JM1CW2BLXC0125056

Elizabeth Luise Nelson

7568 Hudson Ave

Warren MI 48091

Date Vehicle Location

05/01/2020 7528 Hudson Ave Warren...”, again “falsifying address” submitting

same to Warren Police to enter into

LIENS computer causes falsified address to appear on PETITION FOR HEARING
ON ABANDONDED VEHICLE

1 of the cars towed was registered to 8075 Packard Ave Warren MI 48089 that was

on a (PN) earlier driver’s license Ex 36-expired 12/19 & updated with 7568
Hudson Ave Warren MI address, a property (PN) lived at before moving to Hudson
Ave and also then owned by Saint Anthony the Great Orthodox Monastery per Ex

14 four page deed of listing 5 properties.

(D) STI, Hertz Bros., knowing it would look suspicious taking 2 MAZDAs -& 2

other cars from exact same address it’s registered to, “falsified the address”=”overt

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act” to 7528 Hudson Ave Warren -submitting “overt act” same to Warren Police for

LIENS -who in turn notified Michigan Department of State with falsified address.

Ex 7 (D) Dennis Hertz admitting to towing | car, telephone call from “state actor”
to tow cars=overt act

state compulsion test, and conspiracy framework are all sufficient bases on which
to find the private company liable under

Sec 1983, Le., private defendants STI, Hertz Bros state they have a “contract”,
hence their “contract” with (D) city of Warren requires (D) STI, Hertz Bros to
violate (Ps’) US Constitutional rights, enter private property-tow cars in violation
of the US Constitution, “so that the choice is really that of the state’” Moldowan,
Id. and the “contract” claimed by (Ds’) STI, Hertz Bros. to make them not liable

is in fact “* .. that the nexus test requires a sufficient close relationship (i.e.

through state regulation or contract) between the state and the private actor so that

the action may be attributed to the state.’ ” Robertson et al., v Breakthrough Towing

et al., supra

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Due Process: The due process clause of the Fourteenth Amendment ensures that
no party will be deprived of property without notice and an opportunity to be heard
at a meaningful time and in a meaningful manner. Fuentes v. Shevin, 92 S. Ct.
1983, .. Fourteenth Amendment protection of property has been broadly extended

to "any significant property interest." Boddie v. Connecticut, 401 U.S. 371, 379, It

is undisputed .. Uninterrupted use of one's vehicle is a substantial property interest,
and that before "local government may so interrupt its use, ..owner is entitled to

due process." Bell v. Burson, 402 U.S. 535, 539. “state actors”. Several of the

“overt acts” are: 1) coming on the private property to tow the cars and take the
personal property, 2) falsifying the address the cars were towed from. 3)
Telephone call from City of Warren Property & Maintenance Doe Kijewski to STI,

Hertz Bros Towing.

Hence, according to Michigan Code L Sec 257.252a(2)(a) statute Warren
Property and Maintenance Supervisor, (D) ROBERT SCOTT, Doe- Kijewski has
“no authority” to tow vehicles off “private property” as be definition they as
“property and maintenance” employees for (D) City of Warren are not police
officers. “Sec 257.252a(2)(a). A towing agency may take custody of an abandoned
vehicle through one of two ways: (i) at the direction of a police agency, see Sec
257.252(a)(4),..”. Hence, (D) STI, Hertz Bros entered into a conspiracy, meeting

of the minds, with “state actors” (D) Scott, Doe Kijewski evidenced by STI

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admitted “mystery contract” to violate (Ps’) US Constitutional rights acting in their

“individual capacities”. “.. that the nexus test requires a sufficient close
relationship (i.e. through state regulation or contract) between the state and the
private actor so that the action may be attributed to the state.”” Robertson et al v

Breakthough Towing et al., at 12”

(D) Scott, per under oath ADMISSIONS Ex 9 swear police “were not involved”
although he admits to being present. Perhaps this is why after towing, (Ds’)
Scott, STI, Hertz Bros Sullivan “overt act”, “falsified the address” 4 vehicles were
towed from to “coverup” that same were towed off a different address of private
property, per Ex 20 pg 1-2, 4 cars pictured BEFORE Towing and further why
(Ds’) SCOTT, shifted reason to tow from “Abandoned Vehicles” to a non-existent

alleged blight ticket as fully articulated in earlier filings.

(Ds’) STI, Hertz Brothers cite a “contract” with the city of Warren that allows
them to tow cars when called by Warren City employees. (Ds’) STI, Hertz
Brother’s have not produced this contract, and (Ps’) aver that it should not be
allowed as a defense, said “mystery contract”. Further, said contract would be
illegal if interpreted to enter private property at the request of (D) city of Warren
Property & Maintenance employees, supervisor (D) Scott to tow licensed, plated,

insured vehicles registered to same address. “Private parties may also be liable

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under Sec 1983 if they ‘willfully participated in joint actions with state agents’ by
joining a civil conspiracy with state officials Memphis Tenn Area Loc., Am Postal
Workers Union, AFL CIO v City of Memphis, 361 F3d 898, 905 CA 6.
“knowingly allowed the seizure ...in reckless disregard of statute requirements’

... violated Plaintiffs clearly established Fourth Amendment rights to be free from
unreasonable seizures’ Livingston, 151 F.App’x at 476..for plaintiffs to state a

claim for civil conspiracy ‘all that must be shown is that there was a single plan,

(Ds’) aver that “mystery contract” allows them to break the law, violate United
States Constitutional rights, yet fails to produce same. See (Ps’) MOTION FOR
DISCOVERY served on (Ds’) STI, Hertz Brothers et al., and subpoena to produce
same & “ .. that the nexus test requires a sufficient close relationship (i.e. through
state regulation or contract) between the state and the private actor so that the
action may be attributed to the state.’” Robertson et al v Breakthough Towing et al.,
at 12”, & at Robertson et al., v Breakthrough Towing LLC et al., @ p 6 para 2,
“Plaintiffs .. suggest that ..tows were effected without any request of the property
owner, a circumstance not authorized by Mich. Code L Sec. 257.252a”, as again to
why (Ds’) STI, Hertz Bros., Sullivan would “falsify the address” from the actual
towed from property 7568 Hudson Ave to “manufactured for the occasion” address
of 7528 Hudson Ave Warren Mi-to boot strap Mich Abandoned Vehicle Code.

“Before removing the vehicle from private property, the towing agency shall

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nrovide notice by telephone. or otherwise. to a police agency having jurisdiction
over the vehicle that the vehicle is being removed’. Mich Comp. L. Sec

257.252a(11).”

A “mystery contract” not produced in discovery cannot be relied upon to break
the law, violate the constitution. “Falsifying the address” that the cars were towed
from can be interpreted by a jury of “consciousness of guilt”, evidence of a “guilty
state of mind”, and “cover-up” of crime since the address provided on the tow
receipts showed a different address cars towed from to support “abandoned

vehicle” theory under Michigan “Abandoned Vehicle” code.

People v Leyra, 1 NY2d 199, 208 “The assertion of false explanations or alibis as
well as the destruction or concealment of evidence comes within the broad
category of conduct evidencing a ‘consciousness of guilt’ and, therefore,
admissible, and relevant on the question of a defendant’s guilt”. “concealing”
correct address cars towed from, “ comes within the broad category of conduct
evidencing a “consciousness of guilt’ and, therefore, admissible, and relevang@n
the question of a defendant’s guilt”. See “other acts” of city of Warren, Ex 29
6/24/23 “Warren police officer caught on video punching jail inmate pg 1-5. See

Exhibit 24 Warren Police Kenort dated //16/21. “other act’ (Ds°) S11. Hertz,

Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1961 Filed 12/20/23 Page 21 of 100

Bros., working w “state actor” (D) Scott in re “citizens arrest” @ (Ds’) STI tow

yard, Hertz Brother, Sullivan defendants

NOTICE OF LATE/INSTANTER IMPEACHING DISCOVERY OF TAPE-
RECORDED CONVERSATION OF (D) ROBERT SCOTT TELLING (P)
ALBERT THROWER THAT “HE IS GOING TO TOW 4 CARS OFF THE
PROPERTY AT 7568 HUDSON AVE.,” WARREN MI 48091 made about
4/15/2020

(Ps”) have a tape recorded conversation where (D) Robert Scott called (P)
Albert Thrower on 2168566626 #. (P)

Thrower was in Cleveland OH.

Per Ex 10 is a summary of a tape recorded conversation starting:
1) Identifying ROBERT SCOTT as the caller

2) (D) Scott states “he ROBERT SCOTT is going to tow the 4 JUNK cars
located at 7568 Hudson Ave” Warren MI

3) Affiant told (D) Scott that the cars were “not junk” and had book value of
$30,000 USD & that cars were insured, had valid license plates, and were
on “private property”

4) Affiant tells (D) Scott, “you need a search warrant to come on that
property and tow those cars, and I don’t think there is a judge in Warren
that will give you a search warrant”

5) Affiant told (D) Scott he was diagnosed with prostate cancer and will be

starting radiation treatment for 40 straight days and asked (D) Scott for

21
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1962 Filed 12/20/23 Page 22 of 100

“couple of months” for cancer treatment because of the radiation and then
affiant would remove the 4 cars

6) Affiant (PT) told (D) Scott he will sue (D) Robert Scott for $10 million
USD under 42 USC Section 1983 if he tows those cars

7) Affiant is in the process of having computer expert pull the tape-recorded
conversation off the broken laptop hard drive

8) Under Ohio law, where the tape-recorded conversations were recorded,

one party consent is all that is needed to admissible in any court of law

Affiant asserts that earlier it was opined that broken computer data could not be
pulled off hard drive but now an expert is the opinion that said tape recorded
conversation can be copied off hard drive.

9) Conversation was civil in nature, (D) Scott told (PT) that he had a cabin he
goes to Northern Michigan

10) = Phone call was made about 4/15/20.

(D) Scott although admits to being present Ex 9 ADMISSIONS para when
the cars were towed appears to deny liability even though he is a
supervisor and (D) Doe Kijewski works under him @ Warren Property &

Maintenance

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“Ohio recording law stipulates that it is a one-party consent state. In Ohio,

it is a criminal offense to use any device to record or share
communications, whether they are wire, oral or electronic, without the
consent of at least one person taking part in the communication. This
means that in Ohio, you are legally allowed to record a conversation if you
are a contributor, or with prior consent from one of the involved parties,
barring any criminal intentions. Ohio Rev. Code Ann. § 2933.52 (West
2012).” Since the recording was made in Ohio, even though originating in

Michigan, it will be admissible for case in chief, or impeaching material.

One theory that civil rights attorneys have used to establish § 1983 liability
is a ratification theory. Under a ratification theory, the plaintiff argues, that
because the municipality subsequently approved of conduct by its officials
that deprived the plaintiff of his constitutional rights, the municipality should
be liable under §1983. In City of St. Louis v. Praprotnik,4 a plurality in the
United States Supreme Court accepted this theory: when a final policy
maker "approve[d] a subordinate's decision and the basis for it, their See
City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (Ps’) aver that (D)
STI admission of “tow contract” with (D) city of Warren, “approved of the
conduct by its officials that deprived the plaintiff(s) of (their) constitutional

rights,...the municipality should be liable under Sec 1983” Id” .

23

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Wherefore, (Ps’) pray will Court will DENY (Ds’) STI, AT LLC, Hertz

Bros., Randy Sullivan employee Motion to Dismiss

Respectfully submitted,

beth Nelson pro’se

Altert Thrower pro’se Eli

CERTIFICATE OF SERVICE

A copy of this motion has been served on the below defendants after

calling same to see if they agree with (Ps’) position this 12/15/23

Mark Straetmans/ Rachel Selina 255 E Brown St #320 Birmingham, MI

48009 tel 2486459680

mstraetmans@berrymoorman.com

rselina(@berrymoorman.com

Jenifer Mead PO Box 806042 St Clair Shores, MI 48080 tel
3134851250

meadjenn@hotmail.com

Law Offices of Thomas H. Stidham. 1401 W Fort St. Rm 1006. Detroit,
MI 48233. Telephone: (248) 303-0306. Fax: (313) 832-7661.

Tsstidham@hotmail.com

OWeEr ,pro se beth Nelson pro se

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INDEX OF EXHIBITS ©

EXHIBIT 1 (PN) Plaintiff Elizabeth Nelson lease

EXHIBIT 2 (PT)= Plaintiff Albert Thrower lease

EXHIBIT 3 (PN)=Driver’s License

Exhibit 4 (PN) Mail pages 1-2 delivered to home 7568 Hudson Ave
Exhibit 5 Admissions (D) Bruce Hertz

Exhibit 6 Admissions (D) Randy Sullivan- STI employee

Exhibit 7 Admissions (D) Dennis Hertz

Exhibit 8 Bill for (PT) Heart attack 2018, 2 stents, and 1 stent later Beaumont

Hospital “at risk person” for covid
Exhibit 9 Admissions (D) Supervisor Warren Property & Maintenance Scott
Exhibit 10 | (PN) PNC online banking “7568 Hudson Ave Warren MI 48091”

Exhibit 11 DTE Energy Bill “7568 Hudson Ave Warren MI 48091”, “utilities

included” per Ex 1, 2 leases

Exhibit 12 Consumer’s Energy Bill “7568 Hudson Ave Warren MI 48091”,

“utilities included” per Ex 1 lease”
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1966 Filed 12/20/23 Page 26 of 100

Exhibit 13 DEED, 7568 Hudson Ave Warren MI 48091 pages 1-4-also

includes 8075 Packard Ave Warren MI

Exhibit 14 Adjacent lot-ownership transfer from city of Warren-combined into

one lot

Exhibit 15 Affidavit of Albert Thrower in re tape recorded conversation
Exhibit 16 | Michigan Abandoned Vehicle Code Sec 257.252 et seq

Exhibit 17 Insurance papers in re vehicles towed-to supplement earlier filed
papers pages 1-4

Exhibit 18 Case No. 23-cv-11597 “other acts”, of (D) STI & Hertz Bros

employees, in re towing, working w (D) Scott ‘citizens arrest”

Exhibit 19 STI receipts showing “falsified address” cars towed from = “overt

act”, “Reqd by Warren Police Department” pages 1-4

Exhibit 20 pages 1-2 Picture of cars @ 7568 Hudson Ave & Adjacent lot per Ex
14 owned by Saint Anthony the Great Orthodox Monastery per Ex 21 LARA

records

Exhibit 21 LARA= Saint Anthony the Great Orthodox Monastery, 7568 Hudson

Ave Warren MI 48091
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1967 Filed 12/20/23 Page 27 of 100

Exhibit 22 Consent Decree NILI 201] et al., v City of Warren, See para 12

“Administrative Warrant”, in re well settled 4, 14 Amendment law

Exhibit 23 Gilbert-Rutter v Parkview Towers, Case No. 16-11010, Judge PATTI,

(EDMI) pages 1-8

Exhibit 24 Warren Police Report dated 7/16/21, “other act” (Ds’) STI, Hertz

Bros., working w (D) Scott in re “citizens arrest” @ (Ds’) STI tow yard

Exhibit 25 (PN) redacted Federal tax return 2019, “accepted” 2/2020 “7568

Hudson Ave Warren MI ...”

Exhibit 26 (PN) redacted Michigan tax return 2019, “accepted” 2/2020 “7568

Hudson Ave. Warren M1..”
Exhibit 27 7568 Hudson Ave Warren MI “Summer Taxes” pg. 1-2
Exhibit 28 City of Warren Flyer, 11/2020, “City Hall,.. appointment only”

Exhibit 29 City of Warren MI punch “innocent till proven guilty” prisoner-
shows “pattern”, “failure to train”, “deliberate indifference” (D) Fouts, (D) Dwyer,

(D) City of Warren

Exhibit 30 2/23/2032 pages (D) Mayor Fouts covid emergency plan, (D) STI

Towing (D) Hertz Bris. Not exempted

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Exhibit 31 Affidavit (PT) in re tape recorded phone call, taped in OHIO= 1

party consent tape

Exhibit 32 pages 1-2 Michigan Department of State PETITION FOR HEARING

ON ABANDONED VEHICLE 2 towed MAZDA 5s.

“owner name and address ELIZABETH LUISE NELSON 7568

HUDSON AVE WARREN MI 48091”, same address car towed from yet “falsified

address” on Ex 19, (D) STI as “7528 Hudson Ave” , in re “overt act” to trigger

Abandoned Vehicle statute Ex 16: code erroneously

Exhibit 33 Registration for one of the 2012 MAZDAs showing 7568 Hudson Ave

Address of owner (PN)

Exhibit 34 Registration for 2012 NISSAN towed-this car per Ex 20 pg. 2 picture
was parked on concrete shows (PN) earlier address per Ex 36 expired license
before renewed in 2019, “8075 Packard Ave” a property owned by Saint Anthony

the Great ..Monastery per Ex 13 — 4 pg deed
Exhibit 35 3/30/20 Letter in re (PT), “prostate cancer” Cleveland MetroHealth

Exhibit 36 (PN) expired Driver’s License, shows 8075 Packard Ave address-

12/19 which was updated to 7568 Hudson Ave when renewed
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Exhibit 37 receipt showing (Ds’) “state actor” Scott coming on (Ps’) property
3/25/20 billing $472.64 ..5/19/20, billed $475 for grass cutting when grass cutting
was suspended by order of Gov Whitmer, shows “pattern” of coming on property

mowing grass, violating 4, 14 Amendment US Constitution
Case 2:22-cv-10918-MFL-APP ECF No. 39, PagelD.s 7

C RENTAL AGREEMENT

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‘The greslecs avo to be occupied by tho above named tonants only. Tenant may not sublet promdoes.

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‘of each month in full.

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LATE FEES tn the event rent ts not paid by the ‘Shi day wher doe dato, Tenant agrees to pay 0 late
change of $ Toe ek
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Telephone. ’. cy

Rapes wil be bom by sald Tenents W damage te dus to nagligence of Tenants.

| Aencent of ws AAT sameny nave ty te eon ve
ONT mowed te promions ond inspected 2 for damages. Tenant shall nog have the right to
apply Secully Daposh in payment of any cont. Sucasily doposlis eust be sulsed proportionately with rant increases.

MBURANCE Tenant is responsible for lebiiiylive insurance coverage on premiegs. Tenent agrees to obtain a
“Renter's insurance” policy and to provide Ouner er agent with a copy of policy win saven (7) days of lease

exaculion.
NOTICES Should tenant decide to vacate the day wallien nolice to the landlord is required.
Should tendiord decide te have tenanis vaceted, & day wnllion nolice te required. Tenant agrees to slew

promises to be shown at any and afi reesoneble iraes co-rerstal.

REAL ESTATE COMMISSION spplcebie) in the event a commission wis cnmed by 0 reel estate broker, Tonent
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RENTAE AGREEMENT

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ale to be occupied by the above named tenants nly. Tenant may not sublet premises. 04}
TERM The term shall commence on fo «~|- / Y —at$ 20D __permonth payable onthe —

L. of each month in full.
LATE FEES. Inthe event rent is not paid by the , 2“A”_(_sth) day after due date, Tenant agrees to pay a late
charge of $

_OivrS

UTILITIES _Tenatt diel 3 oor ote tor the payment of the following utilities: water, electric, gas, heating fuel,
Telephone. _ >
APPLIANCES Appliances provided in this rental are: stove, refrigerator; dishwasher, washing machine, dryer, _air
conditioner(s), .

Repairs will be bom by said Tenants if damage is due to negligence of Tenants. oe -
* SECURITY Amount of security deposit is $,_-~~___. Security shall be held by Landlord until the time said
Tenants have vacated the premises and Landlord has inspected it for damages. Tenant shall not have the right to
apply Security Deposit in payment of any rent. Security deposits must be mised proportionately with rent increases.

INSURANCE Tenant is responsible for fability/fire insurance coverage 00 premises. Tenant agrees to obtain a

"Renter's Insurance" policy and to provide Owner or agent with a copy of policy within seven (7) days of lease

execution.

NOTICES Should tenant decide to vacate the premises, a /O ___ day written notice to the landiord is required. “Ay
Should landlord decide to have tenants vacated, a /(2_ day written notice is required. Tenant agrees to Oo ..
premises to be shown at arty and all reasonable times for re-rental.—~

REAL ESTATE COMMISSION (If applicable) In the event a commission was earned by a real estate broker, Tenani
shall not take possession of the premises unless all fees due broker are paid in full as agreed. Commission is payab
when this lease is signed by the Tenant(s). It is solely for locating the rental for the Tenant and is not refundable und!
any circumstances regardless of.any disputes or conditions between the Landord and Tenant before or after

occupancy ig taken. nn Leno
ACKNOWLEDGMENT Tenants hereby acknowledge thet they have read, understind and agree to all parts otter" ~
document, and have received a copy. he ag

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Case 2:22-cy-10918-MFL-APP ECF No. 98, PagelD.1972 Filed 12/20/23 Page 32 of 100

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"ELIZABETH NELSON
El 7568 HUDSON AVE
WARREN, MI 48091-5912

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AUTOMOBILE DIVISION
American Honda Motor Co., inc.
1919 Torrance Bivd., - P.O. Box 2215
Torrance, CA 90609-0870

SAFETY RECALL NOTICE

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Case 2:22-cv-10918-MFL-APP_ECF No. 98, PagelD.1974 Filed 12/20/23 Page 34 of 100
Case 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1630 Filed 09/13/23 Page 92 of 95

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Defendants.
/

Elizabeth Nelson Jeanifer Mead (P57106)
P.O. Box 1422 P.O. Box 806042
Wanrea, MI 48090 St. Clair Shores, MI 48080
In Pro Per (G13) 485-1250

Attomey for Service Towing, Inc.
Albest Thrower Defendants
P.O. Box 602637 meadjenn@faotmail.com
Cleveland, OH 44102

| Rachel C. Selina (P85430)
255 E. Brown Street, Ste. 320

undersigned counsel, pursuant to F RCiv.P. 36 and hereby responds to Piaiatifis’ joint Requests
For Admissions as follows:

17. Adanit thet there was a privacy fence on the adjacent lot to the 7568 Hudsoa Ave
Warren MI address 5/1/20 when you towed the 4 cars. ADMIT/DENY
RESPONSE: Defendant cannot truthfully adonit or deay this request 23 after a reasonsbie
inquixy, the information defendant knows or can readily obtain is insufficicat to enable defendant

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Case 2:22-cv-10818-MIFL-APP ECF No. 82, PagetD.1698 Feed 0011323 Penn Sa

to adit ox deny. As part of the inquiry, defendant reviewed plaintiff's Exhibit N, which is
placancff s picture of a wooden feace but plaintiff's photo is so blurred and light that one cannot
see precisely where the wooden fence is or on which property it is located.

18 Admit that all 4 vehicies towed from the 7568 Hudson Ave Warren MI 48091
address and the adjacent lot had Michigan license plates attached t0 them ADMIT/DENY
RESPONSE: Admit.

19. ADMIT/DENY thst a vehicle owner under Michigan law cannot obtain license
plates without showing proof of full coverage insurance
RESPONSE: Denied, as a vehicle owner in Michigan can obtain license plates by showing
proof of no-fault imsurance, which is less coverage than “full coverage insurance”.

44. Admit that ALBERT THROWER recovered 4 vehicles that were towed from
7568 Hudeon Ave Warrea MI 48091, 5/2/20, 5/3/20 ADMIT/DENY
RESPONSE: Admit, after a review of the towing imvoices.

45. Admit that when ALBERT THROWER was in the SERVICE TOWING, INC.,
ABLE TOWING LLC office 5/2/20 that a black lady entered the office AFTER THROWER
ENTERED OFFICE and the black lady was not told to wait outside by you or anyone clese
working in the office. ADMIT/DENY
RESPONSE: Defendant canaoct truthfully admit or deny this request as affer a reasonable
inquiry, there is no recording, video or document which supports plaintiff's request. The
information known to defcadant or that he can readily obtain is insufficient to cnable defendant
to adenat or deny.

Ex 70.
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Case 2: -22-Cv-10918-MFL-APP ECF No. 82, PagelD. 1632 Filed 09/13/23 Page 94 of 95

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71. 4D MIT/DENY that ELIZABETH NESLON would aced a “helper” to retrieve 4
vehicis tha «cre towed by SERVICE TOWING, INC., ABLE TOWING LLC aad or Hertz
é Beos defensisats 5/1/20 FROM 7568 Hedeon Ave Warren MI 48091
RESPONSE: Denied, as plaintiff Nelson could travel to Service/Able Towing and redeem the
\ehictes herself.
91.  ADMIT/DENY that two of the vehicles towed 5/1/20 from 7568 Hudson Ave
Warren MI 48091 were on the concrete drive.
RESPONSE: Denied, as to the best of defendant's knowlodge, information and memory, the
vehicles were left on the grass.

92. ADMIT/DENY two of the vehicies were taken from behind a privacy feace
RESPONSE: Defendant cannot truthfully adenit or deny this request as after a reasonable
inquiry, the imformation decadent knows or can readily obtein is insufficient to enable defendant
to admit or deny. As part of the imquiry, defendant reviewed plaintiff's Exhibit N, which is
plaintiff's picture of 2 wooden fence but plaintiff's photo is s0 blurred and light that onc cannot
sce precisely where the wooden feace is (or on which propesty it is located) im order to refresh
his memory 2s to the location of each vehicle. Defendant’s best memory is that cach vehicle was
parked on the grass and is unable to recall if sny vesicle was behind a privacy fence.

94.  Adanit/Deny that you entered the property 7568 Hudson Ave Warren MI 48091
5/1/20 and towed 4 vehicles without ever sceing a search warrant
RESPONSE: Defeadent adanits that on 5/1/20 he, on behalf of the company, did not tow all 4
vehicles and that he did sot see a scarch warrant but in practice and custom, law enforcement

Ex to.
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Case 2:22-TV-10918-MFL-APP ECF No. 98, PagelD-1977- Filed I2720123-"PaAgS ST OT OU
Case 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1627 Filed 09/13/23 Page 89 of 95 >

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UNITED STATES DISTRICT COURT ,
EASTERN DISTRICT OF MICHIGAN LO

SOUTHERN DIVISON
/ ELIZABETH NELSON and ALBERT THROWER, Case No. 2:22-cv-10918
Hoa. Matthew F. Leitman
Plaintiffs, Mag. Judge Anthony P. Patti
-y-
SERVICE TOWING, INC., et al,
Defendants.
/
Elizabeth Nelson Jennifer Mead (P57 106)
P.O. Box 1422 P.O. Box 806042
Warren, Mi 48090 St. Claar Shores, MI 48080
In Pro Per G13) 485-1250
Attomey for Service Towing, Inc.
Albest Thrower Defendants I
P.O. Box 602637 meadjcan@hotmail.com |
Cleveland, OH 44102
Rachel C. Selina (P85430)
255 E. Brown Street, See. 320
Birmingham, MI 48009-6209

NOW COMES Defeadest DENNIS HERTZ, by and through undersigned counsel,
| pursuant to F.R.Civ.P. 36 and hereby responds to Plaintiffs’ joint Requests For Admissions as
follows:

17. Adanit that there was a privacy feace on the adjacent lot to the 7568 Hudson Ave
Warren MI address 5/1/20 when you towed the 4 cars. ADMIT/DENY
RESPONSE: Defendant Dennis Hertz cannot truthfully adeait or deny this request es after a
reasonable inquiry, the information defendant knows or can readily obtain is insufficient to

Ex Ap!
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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1978 Filed 12/20/23 Page 38 of 100

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canble defendant to admit or deny. As part of the inquiry, defendant reviewed plaintiff's Exhibit
N, which is plaintiff's picture of a wooden fence but plaintiff's photo is 20 blurred and light that
One cannot see precisely where the wooden fence is or on which property it is located.

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44. Adenit that ALBERT THROWER recovered 4 vehicles that were towed from
7568 Hadson Ave Warren MI 48091, 5/2/20, 5/3/20 ADMIT/DENY
RESPONSE: Admit, after a review of the towing imvoices.
45. Admit that when ALBERT THROWER was in the SERVICE TOWING, INC.,
ABLE TOWING LLC office 5/2/20 that a black lady entered the office AFTER THROWER
ENTERED OFFICE and the black lady was not told to wait outside by you or anyoue clese
working in the office. ADMIT/DENY
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasousble
inquiry, there is no recording or document which supports plaintiff's request. The information
known to defendant or that he cam readily obtain is insufficient to enable defendant to adanit or |
deny.

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Case 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1629 Filed 09/13/23 Page 910f95___.

71. A DMUT/DENY that ELIZABETH NESLON would need a “heiper” to retrieve 4

/ vehicles that «e-c towed by SERVICE TOWING, INC., ABLE TOWING LLC and or Hertz
Bros defend2-:s 5/1/20 FROM 7568 Hadsoa Ave Warren MI 48091
RESPONSE: Denied, as plaintiff Nelson could travel to Service/Able Towing and redeem the
vehicles herself.

91. ADMIT/DENY that two of the vehicles towed 5/1:20 from 7568 Hudson Ave
Warren MI 48091 were on the concrete drive.

RESPONSE: Denied, as to the best of defendamt’s knowledge, information and memory, the
vehicles were left on the grass.

92. ADMIT/DENY two of the vehicles were taken from behind a privacy fence
RESPONSE: Defcadent cannot trutiefully adeait or deny this request 2s after a reasonable
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plaintiff's picture of a wooden fence but plaintiff's photo is so blucred and light that one cannot
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parked on the grass and is unable to recall if any vehicle was behind a privacy fence.

94. Admit/Deny that you entered the property 7568 Hudson Ave Warren MI 48091
5/1/20 and towed 4 vehicies without ever seeing a scarch warrant
RESPONSE: Defcadent adesits that on 5/1/20 he, on behalf of the company, only towed 1 of the
4 vehicles (and denies that he towed 4 vehicles) and that he did not sce a scarch warrant but in

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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1980 Filed 12/20/23 Page 40 of 100

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49050 SCHOENHERR RD., £108 Tax iD: 283705373
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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1986 Filed 12/20/23 Page 46 of 100

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Payment Coupon
Piease return aff peyment coupons with your check or money order, payable to OTE Energy, five business days
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Be sure bo write your account number(s} on your check or money order.
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report suspected lammpering by calling our theft hotline at 600.441 6008.
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For more
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Your usage ts based on an ACTUAL meter reading

important Information
l J
‘The line tem previously labeled as the Energy Waste Reduction Surcharge has been renamed as Other

Delivery Surcharges on your bill. This change is in complitence with Michigan Public Act 342 and does
not impact the price you psy for the Energy Waste Reduction program.

Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1987 Filed 12/20/23 Page 47 of 100
Account: 1030 3526 5406

Consumers Energy oe ll

Count on Us® Pe SE ee CPX lye)

e Thea You - We received
your last payment of $103.63

L.ay 24, 2021
SAINT ANTHONY THE GREAT ORTHODOX MONASTE on keay
1312 W89TH ST
CLEVELAND OH 44102-1828 —° Service nuGvess:

7568 HUDSON AVE
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Mcf = 1 thousand cubic feet of natural gas can heat an average home for 4 days. oe tle

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Sia Sw: Call 9-1-1 and 800-477-5050.

We'll respond day or night.

Own. power litas.
Stay 25 feet away. Call from
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Case 2:22-cv-10918-MFL-APESaaSeeCoepag@lbI8s Filed 12/20/23 Page 48 of 100

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Case 2:22-cv-10918-MFL-APP ECF No. 98, Page l@eHoegrerKeMere/20/23, Page 49 of 100

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EXHENT “A°
Land sltusted in the Clty of Warren, County of Macomb, State of Michigan
Parcel 4: The weet 20 feet of Lot 282 and the east 20 fest of Lot 283, Piper's Second Van Dyke Farms:
Subdivision, according to the plet thereo! as recorded In ber 3, page 116 of Plats, Macomb County
Records. :
Parcel 2: Westerty 60 fest of Lot 227, Piper's Second Van Dykes Farms Subdivision, according to the
plat thereof as recorded in ther 3, gage 115 of Plats, Macon County Records. .

Parcel 3: Lot 847, Piper's Ven Oylee Subdivision No. 4, according to the plat thereof as recorded in fber
4, page 02 of Ptate, Macomb Counly Reoceds. :

Paroal 4: Lot 20, Piper's Ven Dyfre Subdivision No, 1, according to te plat thereof as recorded In ber 4,
page Sof Plats, Macomb County Records.

Parcel & Lot 128, Piper's Ven Dyke Subdivision No. 4, scconding to the plat thereof as recorded ta iner
4, page 3 of Plate, Macomb County Recorde.

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Commmonty Known ex: 8066 Packard, 8076 Packard, 7608 Hudeon, 8112 Tinkeen, 8235 Republic” |
_ Pasoel ID: 13-S4-182-012, 13-94-151-020, 19-39:278-009, 13:27-851-014, 13-27-267-019

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Case 2:22"cv-0918-MFL-APP ECF No. 98, PagelD.1990 Filed 12/20/23 ‘Page 50 of 100

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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1992 Filed 12/20/23 Page 52 of 100
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Mr. Albert Thrower

St_ Anthony the Great Romanian Orthodox
8075 Packard

Warren, Mi 48089

Re: Conveyance of Property at 7560 Hudson
PID # 13-333-278-008

Enclosed is the title commitment for an Owner's Policy with Standard Exceptions in the amount -
of $1,000.00. .

This policy will insure against any claims from a party whose interest is disclosed on a public

: record, but not for any. unknown boundary fine disputes, easements, encroachments or
unrecorded: rights. The title company will require a survey to provide a policy without

exceptions... it 0 ,

rovow of he Gl bung roonds you wou ik before we complete esl.

When you are satisfied with the property, please contact me to schedule the closing at (
574-4671 of mmichaels@cityofwarren.org. All unpaid water bills or taxes must be paid
before we close. At closing, you will need $1.00 cash for the punefidse of the lot, plus 4
able tothe Macomb County Register of Deeds and a/$275, payable
1; LLC for the title insurance. if you would to be greater
ase let me know, and | will let you know what the title company’s price would

Should you have any - questions, of require further information, please feel free to call me. a
(586) 574-4671, or Paralegal Valerie Lyons Tack at (586) 574-4673. :

Respectfully, "
Mary Rie, sched

Chief Assistant City Attomey

MMVI Ltr to A Thrower with enc! Title Commitment — 7560 Hudson ID 66826

_ Enclosures :
cc: Tom Bommtarito, Economic ¢ Development Director / /

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22-CV-10918-MFL-APP ECF No. 98, PagelD.1993 Filed 12/20/23 Page 53 of 100
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Atiberty Mutua Company

EMERALD CITY INS AGENCY INC
PO BOX 515097 December 26, 2019
LOS ANGELES CA 90051-8571

Policy Number: M1951211

24-Hour Claims: 1-800-578-6701

Policy Service: 1-800-578-6701
Online Account Services: www.safeco.com

THIS IS NOT A BILL.

ALBERT THROWER IDENTIFICATION CARDS ENCLOSED
ELIZABETH L NELSON

7568 HUDSON AVE .

WARREN MI 48091-5912 >

Welcome to Safeco!

We believe insurance shouldn’t be any more complex than it has to be. Welcome to an easier
experience with Safeco. ,

Enclosed is your new automobile policy. Read it through carefully. It will give you a detailed
description of the type and amount of your coverage, any deductibles (your out-of-pocket costs)
that apply and the effective date of your policy. If, after reading your policy, you have any
questions or want to find out about discounts that may apply to your policy, please cail
1-800-578-6701.

The premium for your policy is $5,306.40 for the December 26, 2019 to June 26, 2020 policy term.
When you receive your billing statement, please review it carefully for the amount and date of
your next payment. Please also verify that your requested payment method is correct.

You can uncomplicate your bill paying experience by choosing our Automatic Deduction Payment
Plan, which offers the convenience of monthly deductions from your checking account that can
be scheduled any day of the month you like. Enroll in Automatic Deduction online at
www.safeco.com.

For added convenience, visit www.safeco.com and make use of our automated services
available to, you including, but not limited to:

- Make a payment by online check, or credit card.

- Review your billing history.

- Change your billing due date.

- View your policy documents.

- Order a copy of your policy and/or insurance ID cards.
- Report to us a name change, or change of address.

- Review Safeco’s Producer Compensation Disclosure. (7
For ail other assistance please call your agent at 1-800-578-6701. Ek
PLEASE SEE REVERSE
SAFECO INSURANCE COMPANY OF ILLINOIS

OC-429/EP 10/13
ECF No. 98, PagelD.1994 Filed 12/20/23 Page 54 of 100

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Alibeny Mutual Company

INSURANCE ANSWER CENTER LLC

ATTN: POLICY SUPPORT December 24, 2019

PO BOX 515097

LOS ANGELES . CA 90051-5097
Policy Number. X5995746
24-Hour Claims: 1-800-495-6578

Policy Service: 1-800-495-6578

: . Online Account Services: www.safeco.com
*000759*
oo THIS IS NOT A BILL.
ALBERT THROWER IDENTIFICATION CARDS ENCLOSED

1312 W 89TH ST
CLEVELAND OH 44102-1828

Thank you for allowing us to continue serving your insurance needs.

To ensure you are receiving the best coverage and value available, the following changes have
been made to your 6-month automobile policy, including those requested by you or your agent or
broker.

2012 MAZDA 5 _
- Vehicle is added.

Your discounts or surcharges have changed. Please read the enclosed policy declarations
page carefully.

This change is effective December 24, 2019. Please place this letter with your insurance policy.
Information on coverages and‘limits can be found on the revised Declarations page, enclosed.

The additional premium for this change is $92.23. The billing for this amount will be explained on
your next billing statement. A $174.93 payment for the outstanding bill on your account is due on
January 4, 2020.

2106

If you have any questions or wish to make any changes to your policy, you can do so by calling
us at 1-800-495-6578.

We appreciate the opportunity to serve you. Thank you.

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Personal Lines Underwriting

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SAFECO INSURANCE COMPANY OF ILLINO

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* RAB \nisurance:. POLICY NUMBER? 25955) 46

A Liberty Mutual Company
SAFECO INSURANCE COMPANY OF ILLINOIS
AUTOMOBILE POLICY DECLARATIONS

_ (CONTINUED)

NAMED INSURED:
a, Tp 2
CLEVELAND OH 44102-1828 POLICY PERIOD Fro: roe 2é one

at 12:01 A.M. standard time at
the address of the insured as

AGENT: stated herein.
INSURANCE ANSWER CENTER LLC AGENT TELEPHONE:
ATTN: POLICY SUPPORT 1-800-495-6578
PO BOX 515097

LOS ANGELES CA 90051-5097

RATED DRIVERS ALBERT THROWER, ELIZABETH L NELSON
2009 CHEVROLET SILVERADO K1500 LT 4 DOOR PICK-UP ID® 16CEK29J092214969
2012 MAZDA 5 4 DOOR STATION WAGON ID# JM1CW2CL0C0113630

Insurance is afforded only for the coverages for which limits of liability or
premium charges are indicated.

ORENADE Ree EN LEER | PR ea SEG
LIABILITY:
BODILY INJURY $25,000 ¢ 88.20
oe. .. Each Person = _ _. ae
$50,000
Each Occurrence
PROPERTY DAMAGE $25,000 101.40
Each Occurrence
UNINSURED MOTORISTS: — REJECTED
UNDERINSURED MOTORISTS: . REJECTED
COMPREHENSIVE Actual Cash Value 62.90 Actual Cash Value $ 84.80
Less $500 Deductible Less $500 Deductible
N TOTAL $ 252.50 TOTAL $ 84.80
N
z
8 TOTAL EACH VEHICLE: 2008 HOND $ 203.20
3 2012 NISS 209.00
2 2009 CHEV 252.50
2 2 2012 MAZD 84.80
8 PREMIUM SUMMARY PREMIUM
° VEHICLE COVERAGES $ 749.50
g DISCOUNTS & SAFECO SAFETY REWARDS You saved $379.40 Included
3 TOTAL 6 MONTH PREMIUM FOR ALL VEHICLES @eeeeoeaoeoencesveoeseoeoveeve cee eoeeae ea neeannee2 8 8 $ 749.50

You may pay your premium in full or in installments. There is no installment fee
for the following billing plans: Full Pay. Installment fees for all other billing
Plans are listed below. If more than one policy is billed on the installment bill;
only the highest fee is charged. The fee is:

$2.00 per installment for recurring automatic deduction (EFT)

$5.00 per installment for recurring credit card or debit card

$5.00 per installment for all other payment methods ex {7

YOU SAVED $379.40 BY QUALIFYING FOR THE FOLLOWING DISCOUNTS:
Advance Quoting

Low Mileage P 3
-CONTINUED-

P 0 BOX 515097, LOS ANGELES, CA 90051

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SA-AGS7/EP 9190 Page 2 of 3 DATE PREPARED: JAN. 21 2020
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1996 Filed 12/20/23 Page 56 of 100

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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1997 Filed 12/20/23 Page 57 of 100

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
Elizabeth Nelson
PO Box 1422
Case: 2:23-cv-11597
WARREN MI 48090 Assigned To : Edmunds, Nancy G.
Referral Judge: Ivy, Curtis, Jr
“ALBERT THROWER Assign. Date : 7/5/2023 3:31 PM
PO BOX 6702 Description: CMP NELSON ET AL V. SCOTT (DA)
CLEVELAND, OH 44101 7
Judge:
Plaintiffs(s)

-vs-

i 42 USC Section 1983

: . 4h sth 14% Amendment,
. Privacy Act violations
"ps Michigan state law
ig Trespassing, Assault and Battery,
*
Jury Trial Demanded
4
at ea
$100 Million USD

VERIFIED Complaint

ROBERT SCOTT (JOHN DOE PROPERTY MAINTENANCE DIVISION

SUPERVISOR rscott@cityofwarren.org.
SUITE 315. ONE CITY SQUARE, WARREN, MI, 48093

SERVICE TOWING INC
6006 Rinke Ave _

Warren MI 48091
ABLE TOWING LLC Ex / 9
6006 Rinke Ave

Warren MI 48091
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1998 Filed 12/20/23 Page 58 of 100

AYNCIe D
Invoice
SERVICE TOWING INC |
6006 RINKE Invoice #: 324068
WARREN MI 48091 Invoice Date: 05/01/20
586-756-9500 P.O. #:
Bill To: Owner Information:
OWNER ELIZABETH NELSON
7568 HUDSON
1. WARREN MI
escription
Vehicle: 2012 Nissan Sentra 4 Door Sedan SILVER
VIN: 3N1AB6AP4CL706413
License: 8MUE50 MI
Location: 7528 HUDSON MI
Destination: RINKE MI
eason: PPI
Reqd By: WARREN POLICE DEPARTMENT
Tow Type: LIGHT DUTY
Caller Name: CODE ENFORCEMENT
ncident #: 20-18749
river: Dennis
Truck: 162
Released To/By:
(Charge Details Amount
Towing _ _ $145.00
CITY ¢ $50.00
STATE $40.00
Storage: In: 05/01/20 Out: 05/02/20 14:41 2.0 days @ $20.00 $40.00
Total $275.00
Discount $0.00
Amount Paid -$275.00
EK / 4 p | Balance Due $0.00

Signature: Payment Method: CASH
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.1999 Filed 12/20/23 Page 59 of 100

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SERVICE TOWING INC
6006 RINKE

WARREN MI 48091
586-756-9500

Bill To:
OWNER

Invoice

Invoice #: 324069
Invoice Date: 05/01/20
P.O. #:

Owner Information:
ELIZABETH NELSOD

8075 PACKARD AVE APT 2
WARREN MI 48089

Description

Vehicle: 2012 Mazda Mazda5 4 Door Wagon BLACK

VIN: JM1CW2CL0C0101363

cation: 7528 HUDSON MI

Locator 8MDJ86 MI

Destination: RINKE MI

Reason: PPI

Reqd By: WARREN POLICE DEPARTMENT

Tow Type: LIGHT DUTY

ncident #: 20-18751

lai Name: CODE ENFORCEMENT

river: Bruce

Truck: 210

Released To/By: OWNER

Amount

Charge Details
Towing

$145.00

CITY

$50.00

STATE

_ $40.00

Storage: In: 05/01/20 Out: 05/04/20 17:57 4.0 days @ $20.00 $80.00

Signature:

Total $315.00

Discount $0.00

Amount Paid -$315.00

Balance Due $0.00

Payment Method: CASH
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2000 Filed 12/20/23 Page 60 of 100

Arricie ®

SERVICE TOWING INC
6006 RINKE

WARREN MI 48091
586-756-9500

Bill To:
OWNER

Invoice

Invoice #: 324067
Invoice Date: 05/01/20
P.O. #:

Owner Information:
ELIZABETH NELSON

8075 PACKARD AVE APT 2
WARREN MI 48089

Description

Vehicle: 2012 Mazda Mazda5 4 Door Wagon SILVER

VIN: JM1CW2BLXC0125056

License: CZR603 MI

enon 7528 HUDSON MI
Destination: RINKE MI

Reason: PPI

Reqd By: WARREN POLICE DEPARTMENT

Tow Type: LIGHT DUTY

Caller Name: CODE ENFORCEMENT
ncident #: 20-18750 .

Driver: RANDY

truck: 226

Released To/By: OWNER

(Charge Details Amount
Towing __ $145.00
CITY * ___ $50.00
STATE $40.00

Storage: In: 05/01/20 Out: 05/04/20 17:56 4.0 days @ $20.00 $80.00

Total $315.00
Discount $0.00
Amount Paid -$315.00

Ex (9 Pp?

Signature:

Balance Due $0.00

Payment Method: CASH
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Invoice
SERVICE TOWING INC
6006 RINKE Invoice #: 324070
WARREN MI 48091 Invoice Date: 05/01/20
586-756-9500 P.O. #:
Bill To: Owner Information:
OWNER ELIZABETH NELSON
7568 HUDSON
' WARREN MI
Description
Vehicle: 2009 Chevrolet Silverado 4 Door Cab; Ext GRAY
VIN: 1GCEK29J09Z214969
icense: FCJ4870 MI
ocation: 7528 HUDSON MI .
estination: RINKE MI
eason: PPI
d By: WARREN POLICE DEPARTMENT
w Type: LIGHT DUTY _.
aller Name: CODE ENFORCEMENT
ncident #: 20-18752 .
Driver: RANDY
Truck: 226 |.
Released To/By:
harge Details Amount
Towing $145.00
CITY < $50.00
ATE $40.00
Storage: In: 05/01/20 Out: 05/02/20 14:41 2.0 days @ $20.00 $40.00
Total $275.00
Discount $0.00
Amount Paid -$275.00
rx / 4 Pp f Balance Due $0.00

Signature: Payment Method: CASH

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ID Number: 802288046 Voruect carticate Goture te Moguls Nev sanech
Summary for: SAINT ANTHONY THE GREAT ORTHODOX MONASTERY
The name of the DOMESTIC NONPROFIT CORPORATION: SAINT ANTHONY THE GREAT ORTHODOX MONASTERY

Entity type: DOMESTIC NONPROFIT CORPORATION
Identification Number: 802288046

Date of Incorporation in Michigan: 02/26/2019
Purpose: Other
Term: Perpetual

Most Recent Annual Report: Most Recent Annual Report with Officers & Directors:

The name and address of the Resident Agent:

Resident Agent Name: ALBERT THROWER

Street Address: 7568 HUDSON AVE

Apt/Suite/Other:

City: WARREN State: MI Zip Code: 48091

Registered Office Mailing address:

P.O. Box or Street Address: PO BOX 1422

Apt/Suite/Other:

City: WARREN State: MI Zip Code: 48090

Act Formed Under: 162-1982 Nonprofit Corporation Act
Acts Subject To: 162-1982 Nonprofit Corporation Act

Total Authorized Shares: 100

Written Consent

View filings for this business entity:

ALL FILINGS

ANNUAL REPORT/ANNUAL STATEMENTS
ARTICLES OF INCORPORATION

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RESTATED ARTICLES OF INCORPORATION

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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2005 Filed 12/20/23 Page 65 of 100

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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2006 Filed 12/20/23 Page 66 of 100

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Ex 22 p 3-7
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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2009 Filed 12/20/23 Page 69 of 100

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

HELEN PATRICIA GILBERT-RUTTER,
Case No. 16-11010

Plaintiff,
. SENIOR U.S. DISTRICT JUDGE
V. Co ARTHUR J. TARNOW
PARKVIEW TOWERS, ET. AL., U.S. MAGISTRATE JUDGE
ANTHONY P. PATTI
Defendant.

ORDER DISMISSING CASE; DENYING AS MOOT DEFENDANT’S MOTION TO
DIsMiss [17]; DISMISSING DEFENDANTS’ CROsS CLAIM [14]

On March 18, 2016, Plaintiff filed pro se a complaint seeking damages
relating to the towing of her car, which had expired registration plates, from the
private parking lot of Plaintiff's apartment building, Parkview Towers. The Court
entered an order granting Plaintiff's application to proceed without prepaying fees
or costs on March 21, 2016 [6]. Defendants Independent Management Service and
Parkview Towers filed a cross claim against Goch & Sons Towing Inc. on May 16,
2016 [14]. On May 20, 2016, Defendant Detroit Police Department entered a
Motion to Dismiss [17]. On June 15, 2016, Defendant Goch & Sons filed an

answer to the complaint, including the affirmative defense that the federal courts

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lacked subject matter jurisdiction over the matter per MCL § 257.252g [19].
Defendant Goch & Sons filed an answer to the cross claim by Defendants
Independent Management Services and Parkview Towers on June 15, 2016 [20].
Plaintiff filed an amended complaint on June 30, 2016 [23]. Defendant Goch &
Sons Towing, Inc. filed an answer to the amended complaint on July 8, 2016 [24].

For the reasons stated below, the Court dismisses the case for a lack of
subject matter jurisdiction. Defendant Detroit Police Department’s Motion to
Dismiss [17] is DENIED as moot. Defendants Parkview and Independent
Management’s Cross Claim [14] is DISMISSED.

1. DISMISSAL OF CASE FOR LACK OF SUBJECT MATTER JURISDICTION

Per Federal Rules of Civil Procedure Rule 12(h)(3), “[i}f the Court
determines at any time that it lacks subject-matter jurisdiction, the court must
dismiss the action.” See also, Herr v. U.S. Forest Serv., 803 F.3d 809, 813-14 (6th
Cir. 2015) (holding same); Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428,
434-35 (2011) (holding same). Additionally, “[a] district court may, at any time,
sua sponte dismiss a complaint for lack of subject matter jurisdiction pursuant to
Rule 12(b)(1)...when the allegations of a complaint are totally implausible,
attenuated, unsubstantial, frivolous, devoid of merit, or no longer open to

discussion.” Apple v. Glenn, 183 F.3d 477, 479 (6th Cir. 1999)
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In Plaintiff's amended complaint, all allegations and claims surround the
legality of the towing of her car from the private property of Defendant Parkview
Towers. Plaintiff admits that she was given 48 hours notice by Parkview towers
prior to the towing of her car. She admits that her car had expired plates, and that
the car was considered abandoned. Plaintiff also admits that the lease that she
received from Parkview states that a vehicle can be towed for expired plates.
Plaintiff also admits in her complaint that she could have retrieved her vehicle
from the police but did not pay the required fee.

Per MCL §257.252a(2)(a), an abandoned vehicle is defined as, inter alia,
“[a] vehicle that has remained on private property without the consent of the
owner.” Per Plaintiff's lease, Parkview could remove cars parked on their property
that had expired registration plates. Parkview had a contract with Goch & Sons
Towing Inc. that authorized Goch & Sons to remove all unauthorized vehicles,
including, but not limited to, vehicles whose tags had expired [14 at 5].

Parkview gave Plaintiff a 48 hour notice on March 17, 2015 that her car
would be towed if her plates were not renewed at that point. Plaintiff's car was
subsequently towed on March 19, 2015 when Plaintiff failed to renew her license

plate. This meets the definition of an abandoned car since the Plaintiff was not
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authorized to park her car on the private property of Defendant Parkview with

expired tags.
MCL § 257.525a(9) states:

If a vehicle has remained on private property without the consent of
the property owner, the owner of the private property may have the
vehicle taken into custody as an abandoned vehicle by contacting a
local towing agency.

It would appear, both from Defendant’s answer and Plaintiff's complaint, that she

received notice that her car had been abandoned, per MCL § 257.525a(10); (11).
Per the statute, Plaintiff had to request a hearing within 20 days of the date of the
notice before her rights as an owner were terminated, or the owner can obtain
release of the vehicle by “paying a fee of $40.00 plus the accrued charged to the
custodian of the vehicle.” MCL 257.252a(12)-(14). Plaintiff admits that she did not
initiate proceedings to retrieve her car.

The allegations in the amended complaint contend that Plaintiff's
constitutional rights were violated when her car and its contents were taken
without warrant or probable cause. Plaintiff alleges extortion for being forced to
pay a fee to retrieve her car, and also alleges that the clause in the lease addressing
the towing of cars parked on their property without valid license plates is illegal.

Further, Plaintiff alleges a denial of accommodation for the refusal of Defendant

Parktower to delay the towing of her car further than 48 hours.
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Per § 257.252e, the District and Municipal Courts from where the vehicle
was removed or considered abandoned have exclusive jurisdiction over whether a
“police agency, towing agency or custodian or private property owner has acted
properly in reporting or processing a vehicle under section 252a.” Additionally, the
remedies available for those claiming violations of a police agency, towing agency
or private property owner in the treatment of an abandoned car under section 252a
are constrained by the statute and do not include any federal or denial of
reasonable accommodation requests. MCL 257.525e(4).

It is clear that Plaintiff's allegations concerning a warrant, probable cause,
extortion and the denial of accommodation deal with allegations concerning
whether or not the Defendants, which include a police agency, a towing agency
and a private property owner, have acted properly concerning the towing of
Plaintiff's car under section 252a. These claims therefore must be raised in the
36th District Court, which has exclusive jurisdiction over these issues. Therefore,
the Court dismisses all of these claims for a lack of subject matter jurisdiction.

The Court also finds that the Plaintiff has not stated a valid claim for an
illegal clause in the lease. Plaintiff cites the Truth in Renting Act in the Complaint
for the proposition that a rental agreement may not contain a clause or provision

that “has been prohibited by statute or declared unenforceable by a published

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decision of the supreme court of this state...” MCL § 554.633(2). Plaintiff appears
to allege that the clause in the lease concerning the towing of cars parked on their
private property with expired plates is illegal.

Under MCL §257.525a, cars parked on private property without the consent
of the owner are deemed abandoned. Per the term of the lease as described by the
Plaintiff, cars parked on Parkview’s private property with expired license plates
were not permitted by the property management, would be treated as abandoned,
and that such abandoned vehicles had 48 hours, per a notice issued by Parkview,
within which to renew their license plates or move their car off of Parkview’s
private property. Otherwise, the vehicle was subject to being towed.

This 48 hour notice before deeming a car abandoned is the same treatment
that Michigan law gives cars parked on public property. Pursuant to
§257.252a(2)(b)(ii), cars parked on public property without valid registration plates
affixed to the vehicle for not less than 48 hours are deemed abandoned. Since the

. terms of consent for non-valid registration plates parked on private property at
Parkview is the same as the standard for abandoned cars parked on public property
under Michigan state law, this clause is not prohibited by statute or law and this

claim is unsubstantial and frivolous and must be dismissed. Apple, 183 F. 3d at

479.
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In conclusion, the Court dismisses the case for lack of subject matter
jurisdiction under Federal Rule of Civil Procedure 12(b)(1) for frivolous claims, as
well as 12(h)(3), for lacking subject matter jurisdiction under MCL § 257.252e.

2. MOTION TO DISMISS [17]

On May 20, 2016, Defendant Detroit Police Department filed a Motion to
Dismiss [17]. No response was filed by Plaintiff. The Court acknowledges that the
City of Detroit Police Department “‘is not a legal entity against which a suit can be
directed” and thus the City of Detroit is entitled to dismissal. Pierzynowski v.
Police Dep't City of Detroit, 941 F. Supp. 633, 637 fn. 4 (E.D. Mich. 1996).
However, given that the Court has determined that it lacks subject matter
jurisdiction and has sua sponte dismissed the case, Defendant City of Detroit
Police Department’s Motion to Dismiss [17] is DENIED as moot.

3. DEFENDANTS PARKVIEW TOWERS AND INDEPENDENT MANAGEMENT
SERVICES CROSS CLAIM AGAINST DEFENDANT GOCH & SONS [14]

On May 16, 2016, Defendants Parkview Towers and Independent
Management Services filed a cross claim against Defendant Goch & Sons Towing
Inc. (Goch & Sons). [14]. Rule 13(g) allows “a claim that the coparty is or may be
liable to the cross-claimant for all or part of a claim asserted in the action against
the cross-claimant.” Fed.R.Civ.P. 13(g). The Court has dismissed the case for a

lack of subject matter jurisdiction. Per 28 U.S.C. §1367, the Court declines to
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exercise supplemental jurisdiction over Defendants Parkview Towers and
Independent Management’s Cross Claim. Therefore, Defendants Parkview Towers
and Independent Management’s cross claim is DISMISSED.

IT IS ORDERED that the case is DISMISSED.

IT IS FURTHER ORDERED that Defendant Detroit Police Department’s
Motion to Dismiss [17] is DENIED as moot.

IT IS FURTHER ORDERED that Defendants Parkview and Independent

Management’s Cross Claim is DISMISSED.

SO ORDERED.
s/Arthur J. Tarnow
Arthur J. Tarnow
Dated: July 20, 2016 Senior United States District Judge
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2029 Filed 12/20/23 Page 89 of 100

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CCS DESK REPORT FOR AaB 07/16/2021 1554 HOURS

DATE AND TIME OF INCIDENT: 07/08/2021 AT 0315 HOURS
LOCATION OF INCIDENT: 6006 RINKE (SERVICE TOWING)
VICTIM: ALBERT THROWER

SUSPECT: ROBERT SCOTT

| spoke to Albert Thrower, who stated he was assaulted on 07/06/2021 ‘at Service Towing,
while trying to retrieve two vehicles that were towed. Thrower sald his vehicles were parked at
7528 Hudson and hadn't been moved in sometime. Judge Chmura ordered the vehicles to be
towed as abandon and were picked up by Service Towing. Thrower spoke to an unknown
employee at Service Tawing and they walked outalde fo look at his vehicles. As they walked
back into the office area of the bullding, Thrower was approached by Warren Building Inspector
Robert Scott. Thrower said Scott grabbed him by the arms and forced him up against a wall
Thrower asked Scott what he was doing and he stated, "Sm making a citizens arrest, you have
outstanding warrants”. Scoit held Thrower against the wall until Warren Police arrived. The
warrants were confirmed and Thrower was placed in handcuffs and transported to the WPD.

Thrower admitted he has numerous outstanding warrants out of the 37th DC for housing
violations. Thrower belleves that Scott had employees at Service Towing call him when he
attived at the yard. Thrawer's complaint is Scott had no right fo make a citizens arrest because
the warrants were only misdemeanors. Thrower sald he was not Injured during the incident.

| issued Incident number 24-33784 and directed Thrower to call the DB on Monday moming
07-19-2021. Tivower completed a witness statement.

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Katyer ” | Sa Social security benefits Se, bTaxable amount. . . ._. [Sb
Qualying 6 Capialgain or (oes). Aitach Schedule Dfrequired. fnotrequired,checkhere 2 2 2 . .> LI[6 a
sano Ta Other income from Schedule 1,line9 . . De ee ee ee. [Tal 11,150,
oleae b Add tines 1,.2b, 3b, 4b, 4d, 5b, 6, and 7a. Thisis your total Income . toe ee ee ee FLT *
Seen | a. Adjustments to income from Schedule 1, ine 22. 8a 78s.
@ lf you checked |b Subtractline Bafrom fine 7b. Thisis your adjusted gross income . we ee ew ew we eee 10,362.
Satad —-_ 9. Stanciard deduction or teinized deductions (from ScheduleA) . . | 9 18,350.Y
Deduction, [10 Qualified business income deduction. Attach Form 8995 or Form 8995-A [10
peeinstructions. laaa AddiinesQand10 . . Doe eee ee ft 18,350.
b ‘Taxable income. Subtract ine 11a from fine 8b. if zero or less, enter -0-_. _ 2... .
KBA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see seperate instructions. Form 1640 (2019)

1M FR) copyright 1900- 2018HRB TaxGrmeinee NY

Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2031 Filed 12/20/23 Page 91 of 100
Michigan Department of Treasury Rev. 05- 19) Page 1 of 3 Amended Retum []

2019 MICHIGAN Homestead Property Tax Credit Claim MI- 1040CR

issued under suthority of Public Act 281 of 1967, as amended.

Type or print in blue or black ink. Attachment 05
Tt. Fiters First Name ML] Last Name 2. Filer’s Full Social Security No. (Example: 123- 45-6789)
ELIZABETH NELSON
if a. Joint Return, Spouse's First Name Mi | Lest Nene
3. Spouse's Full Social Security No. xample: 173- 45-6789)

Home Address (lumber, Street, P.O. Box) If using a P.O. Box, you must complete fine 45.

7568 HUDSON AVE

City or Town Stats Cade 4, School District Code digits - see page 60)
WARREN MI 48091 50090

5. Check the box(es) for which you or your spouse qualify (excluding dependents). if you qualify for both, see instructions.

af] Age 65 or older, or an unremastied spouse ofa person bt J Deaf, blind, hemiplegic, paraplegic, quadriplegic, or

who was 65 or older at the time of death. totally and permanently disabled.

6. 2019 FILING STATUS: 7. 2019 STATUS: *if you checked box"c," enter dates of Michigan residency in 2019}
a. [x] Single a. Resident FILER SPOUSE

b. [| Married filing jointly b. CI] Nonresident FROM:

TO:
c Married filing separately jc. Part-Year Resident*
C] (include Form 5049) LJ

8. Homestead Status
C] Check here if the taxable value of your homestead includes unoccupied farmiand classified as agricultural by your local assessor.

9. Homeowners: Enter the 2019 taxable value of your homestead (see instructions). If you did not

check box8 above and your taxnbie value is greater than $135,000, STOP; you are not eligible.

Farmers: enter the taxable value of your homestead, including eligible unoccupied fanmiand ................ 9. 00
40. Property taxes levied on your home for 2019 (see instructions) or amount from fine 51, 56 and/or57 ...........-. 10. od
11. Renters: Enter rent you paid for 2019 from Ine 53 and/or55 ................ 11. 7, 680/00
12. Mulfiply line 11 by 23% (0.23) 0 cece ce cee cence cence eee e cece e eens cteeenees 12. 1,764600
13. Total. Addiines10and12......... eee e eee e cee e tence een eee n cnet nents egeeeeeeeeeres 13. 1,76600

TOTAL HOUSEHOLD RESOURCES. If filing a joint return, include income from both spouses.
if married filing seperately, you must include Form 5049.

14. Wages, salaries, tips, sick, strike lod 21. Social Security, SSI, and/or

and SUB pay, etc... 0.2 eee 14 railroad retirement benefits . ~ 00
15. All interest and diviffend income log 22. Child support and foster

(including nontaxable interest)... . . 15 parent payments .......... 00
16. Net business income (including net dod 23. Unemployment

farm income). If negative enter “0° 16 11,15 compensation ..........f.. 0g
17. Net royalty or rent income. lod 24. Gifts received or

if negative enter“O” 20.22.2022... 17] paid on your behalf... .77.. 24. st 06
18. Retirement pension, annuity, and od 25. Other nontaxable income

IRA benefits .......000.0.0.0.00. 18 i Describe: TRUST INCOM 25 6 ,00000
19. Capital gains less capital losses, od 28. Workers'veterans’ disablity

(see instructions) ............... 19. | compensation/pension benefits 26 00
20. Alimony and other taxable income od 27. FIP and other MDHHS benefits

Describe: 20. | (Do not include food assistance) 27. 00
28. SUBTOTAL Add lines 14 through 27... 2.0.2... e cee cece ee cece eee eee eee ees SUBTOTAL 28. 17,1500

CK Continue on page 2. This form cannot be
processed if pages 2 and 3 are not completed and included.

?- G PEASE SR 2ei8).. 1996 - 2018 HRB Tan GE RAW 1-45

+ 1029 2019 25 01 27 8
Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2032 Filed 12/20/23 Page 92 of 100

OFFICE OF THE TREASURER
LORIE W BARNWELL
x _ ONE CITY SQUARE STE 200
‘AR FR E N WARREN, MI 48093
586-574-4542

2020 SUMMER TAX BILL

ST ANTHONY THE GREAT ROMANIAN

ALBERT THROWER
7568 HUDSON AVE APT B
WARREN Mi 48091-5912
PREMBT% | TAXABLE VALUE pide Soe y
0.00 19,130 28,180
- _ PARCEL LD NUMBER____| .___ SCHOOL DISTRICT. 4
12-13-33-278-030 50220 / Van Dyke (02)
RATE DESCRIPTION AMOUNT
27.14710 City 519.28
6.00000 S.E.T 114.78
10.68460 Debt 204.39
18.00000 Operating 344.34
0.00000 Supplemental 0.00
1.43870 M.C.C 27.52
0.00000 M.C.C Debt 0.00
4.72960 1.8.0 90.47
4.41500 County (Summer) 84.45
Admin Fee (Summer) 8.65
County (Winter)
D.LA
Admin Fee (Winter).

Property Address:
7568 HUDSON A

FOR YOUR SAFETY DURING THE COVID-19 CRISIS,
CITY HALL MAY TEMPORARILY HAVE LIMITED OR
NO ACCESS. SEE BACK OF BILL FOR PAYMENT
OPTIONS INCLUDING ONLINE OR BY PHONE.

EMAIL YOUR PROPERTY ADDRESS TO:
PAYMENTCONFIRMATION@CITYOFWARREN.ORG
FOR CONFIRMATION OF THIS SUMMER'S PAYMENT.

_ DUE TO LATE RELEASE OF THE TAX BILLS, THERE IS
A ONE TIME GRACE PERIOD UNTIL SEPT 15, 2020
WITHOUT LATE FEES.

7568 HUDSON

OR

ST ANTHONY THE GREAT ROMANIAN
12-13-33-278-030

A

PAY FIRST SUMMER INSTALLMENT:

PAY FULL SUMMER BALANCE:

ST ANTHONY THE GREAT ROMANIAN

12-13-33-278-030
7568 HUDSON A

Winter Taxes Due: TO BE BILLED IN DECEMBER

MACOME COUNTY TREASURERS Geri ECF No. 9$,PagetD-2UsSek fea. 12/20/23 “Pa
AEN ST END EL TREASURER Monday to Friday: 8:00 am t 4:30 pen
MT CLEMENS Mi 48043-2352
PH: 586-469-5190 FAX: 586-307-8290 Late Hours: .
Wednesday
RETURN SERVICE REQUESTED 4:30 pen to 7:00 pm (Payments only)
HatecLdeedetseeggt fogged enadedeadasececal lead te
91035200249 08T3t 10S SRERNRNNTNS—SSSSeONOLT
bee: Sept, 2020 WIE GREAT ROMAY gfentlgfodepbgetooggGlgegegedaegggfEERGPE ety tf Hat ]ng alt efigtey
er THON OER REAT ROMANIAN MACOMB COUNTY _TREASURER'S OFFICE
~~ 8075 PACKARD AVE APT 2 MT CLEMENS MI 48043-2352

WARREN MI 48089-5525

NOTICE OF PROPERTY DELINQUENCY

EASE DETACH Ana RETURN THE TOP PORTION WITH YOUR PAVIRENT INTHE ENCLOSED ENVELOPE.

3}¢> Property Address 7568 HUDSON
Description of Land/City, Vilage, Township WARREN
PIPERS VAN DYKE SUBDIVISION NO 4 LOT 847

Property 1D # 12-13-33-278-009

iF PAID IN iF PAID IN iF PAID IN

TAX YEAR SEPT 2929 OCT 2829 NOY 2029
2019 34.61 49.92 50.24
34.61 49.92 50.24

* if 3 tax years are listed, additional taxes may be due.

Sie etree omnes wil be forfeited to the

doo tact tg on Tt
Treasurer for those and fees. A
frechare poceotrg 6 calrpet

enw expe on Mach 3

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$15.00 wi

person who holds
taxes, interest, pe

interest in the
allie are fos oe et oat

Jose that Interest as a result of
at noe

2018 and prior year taxes which are unpaid were forfelled on March 1, 2020, and are in process of foreciosure.
September 1, 2020, a personal visit fee of $50.00 will be added to the forfeited parcais.
ASSISTANCE MAY BE AVAILABLE FROM:
STEP FORWARD MICHIGAN 946-7432
MSU CO-OP EXTENSION
COMMUNITY HOUSING we
MICHIGAN DEPARTMENT OF HEALTH SERVICES (586) 254-1500
$ COMMUNITY SERVICE AGENCY - ACTION
z NORTH 749-5146 CENTRAL (586) 460-6964 SOUTH 758-01450
3 MACOMB ONLY) (586) 468-6315
MACOMB COUNTY SENIOR SERVICES 469-5228
AREA ON AGING (800) 852-7795
s MAKE CHECK PAYABLE TO: MACOMB COUNTY TREASURER. MAIL IN THE ENCLOSED ENVELOPE WITH TOP

PORTION OF NOTICE. “PARTIAL PAYMENTS ACCEPTED.
wes VISIT OUR WEBSITE TO MAKE PAYMENTS ONLINE. treasurer macombaoy.org

/

Ex 21

Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2034 Filed 12/20/23 Page 94 of 100

WARREN COVID-19
FREE TESTING OPPORTUNITY
Drive-thru/Walk-up Outdoors

We are offering mobile COVID-19 testing to interested residents.
We are offering nasal swab testing only.

19:
or call il Mayor Fouts’ Office @ (586) 574-4520

Please text WH Cares to 483-55 so that you can complete your pre-
intake form prior to arriving to the test site. If you do not have a cell
phone, one of our testing team members will help you with the form
the day of your test.

COVID-19 Coronavirus Information

e¢ [have an EMERGENCY HOTLINE (586) 574-4526 for senior Warren residents as well as those
with pre-existing conditions who are in need of food. Please for those only who are in great need! This
is coordinated with local food pantries and volunteers from Warren. Those wishing to help out can also
call the HOTLINE number (586) 574-4526. Indicate that you are able to assist and leave your phone
number.

e Ihave also arranged for Forgotten Harvest to distribute food at Warren city hall, south parking lot every
Monday from 9 am — 1 pm. First come, first served. Stay in your vehicles and food is placed in your
trunk.

© Constantly use soap and water to wash your hands and if not available use sanitizers that are at least
60% alcohol.

e Use masks, gloves and wipes to ensure extra safety BUT do not discard of these in public areas, discard

—————~inrarsafe-container-net-out-on-the street-or-parking lot_as this can become unsightly and dangerous __
pollution, for health and the sewer systems.

¢ Cover your mouth when coughing and/or sneezing. Use your elbow if necessary.

e Do not shake hands with anyone.

Please stay a safe distance away from others and do what is suggested to make sure you remain safe.

God Bless! - Warren Mayor Jim Fouts

WARREN CITY HALL IS OPEN BY APPOINTMENT ONLY

Warren City Hall is Open By Appointment Only:

° Appointments can be made M-F between the hours of 10:30 AM — 3:30 PM.

e Entry will be on the second floor of city hall/3rd floor of the parking structure.

e Visitors must wear masks/employees also must wear masks.

e We will have security at the door screening visitors that have appointments.

e Remember, every department is by appointment only so please make sure you visit the
department you have an appointment with and then exit the bullding from the same floor you
entered after your appointment is complete.

¢ Civic Center Library will also open by appointment only - M-F also 10:30 AM — 3:30 PM (through
city halt south door of library). Library curbside service still available.

e All other branch libraries will be open regular hours (must call to reserve computer usage).
° The Mayor's: Office has free masks ¢ available tor low-income individuals in need at the Owen Jax

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ee 2:22-CV-10918-MFL-APP “ECF No. 98, SEAece Ee 12/20/23 Page 95 of 100
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the day of your test. aU Se CTCCTOME COLORS)

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Constantly use soap and water to wash your hands and if not available use sanitizers that are at least
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Use masks, gloves and wipes to ensure extra safety BUT do not discard of these in public areas, discard
in a safe container-not out on the-street or parking Jot_as this can become unsightly and dangerous
pollution, for health and the sewer systems. :

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All other branch libraries will be open regular hours (must call to reserve computer usage).

The Mayor's Office has free masks available for low-income individuals in need at the Owen Jax
Recreation Center, 8207 E. 9 Mile Road - Monday — Friday, 8 a.m. to 6 p.m. while supplies last.

Mayor Fouts is available for any questions or concems — (586) 574-4520 and retums caits until
almost 10 p.m. every evening.
Mayor's Office: (586) 574-4520 / Clerk’s Office: (586) 574-4557 / Treasurer: (586) 574-4554 /
Engineering: (586) 759-9300 / Building: (586) 574-4504 / Rental: (586) 574-4663 / Property
Maintenance: (586) 574-4662 / Assessing: (586) 574-4532 / Water: (586) 759-9200

—

November 2020

Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2036 Filed 12/20/23 Page 96 of 100

What's next for Warren officer caught on video punching jail
inmate, slamming his head, throwing him

Officer on unpaid leave, facing assault and battery charge

Derick Hutchinson, Lead Digital Editor

Published: june 24, 2023 at 6:00 AM

Tags: Warren, Macomb County

Warren police Officer Matthew Rodriguez is accused of attacking a jail inmate on june 13, 2023. (WDIV)

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x Hi. Need any help?
WARREN, Mich. - What's next for the Warren potice officer who was caught on video punching an inmate in the face, throwing him to the ground, and slammire

oan B27 p!

Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2037 Filed 12/20/23 Page 97 of 100

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The attack happened at 6:08 a.m. june 13 at the Warren Police Department jail, and officials announced charges against the officer during a news

conference on Tuesday, June 20.
Matthew James Rodriguez, 48, of Southgate, is on unpaid leave and facing charges. After his arraignment, he was placed on unpaid leave.

An employment hearing was scheduled between Rodriguez and Warren police Commissioner Bil Deryer to determine the future of his employment. But on Friday,
june 23, Local 4 Jearned that Rodriguez waived his right to that hearing.

Rodriguez remains on unpaid leave, and Dwyer is expected to make a decision regarding his status with the department sometime early next week.

Video shows attack

Dwyer said a 19-year-old Detroit man was arrested between 4 a.m. and 5S a.m. june 13 on felony carjacking and weapons charges.

The man was taken to the Warren Potice Department jail for booking around 6 a.m. and turned over to the custody of Rodriguez.

VW vistopint

Ee 27 pe

Rodriguez, who has been with the department since 2008, is a booking officer who has been assigned to the jail on and off for the last several months.

Video shows Rodriguez waking up to the inmate in the fingerprinting room at 6:08 a.m. and punching him én the face after a brief exchange of words.

Warren police Officer Matthew Rodriguez is accused of attacking a jail inmate an june 13, 2023. (WDIV)

to Shaker Heights, care that's

y From Middleburg Heights

The punch sent the inmate staggering against the wall, and Rodriguez pushed him, then lifted him into the air by grabbing him on the shoulder and between his
legs.

Rodriguez threw the man on the ground and punched him at least two more times before slamming his face on the ground, the video shows.

“This is not what we do, this is not who we are, and this is not what the men and women of this department stand for when they put on the uniform,” Dwyer said.
Two other officers intervened within seconds of the first punch.

“One of the officers reported saying, That's enough, that’s enough,’ as he worked to de-escalate the overall situation,” Dwyer said.

Dwyer said Rodriguez was not wearing a body carnera, which is a policy violation.

At the very end of the video, Rodriguez can be seen throwing the inmate on the ground in a cell and slamming the door.

“This incidemt happened quickly, very quickly, and was over in the matter of seconds,” Dwyer said.

Officer reported, charged, placed on unpaid leave
Dwyer said the inmate did not file a complaint about the attack, but Rodriguez was reported immediately by his fellow officers, who thought he was out of line.

“This officer's actions were not at all justified,” Dwyer said. “The actions of this officer are not consistent with our training, our policy, or standards or
professionalism we hold ourselves to.”

The Warren Police Department launched its own internal investigation and placed Rodriguez on administrative leave.

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Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2039 Filed 12/20/23 Page 99

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
Elizabeth Nelson
PO Box 1422
WARREN MI 48090 Case No. 2:22-cv-10918
Judge: MATTHEW LEITMAN

Plaintiffs(s)
-vs- Magistrate: Anthony P. Patti
SERVICE TOWING et al.,

Defendants

NOTICE OF COMPLAIANCE WITH LOCAL RULE SEEKING CONCURRENCE WITH
FILED 12/16/23 BRIEF-

(Ps) Ps'emailed a copy of the brief, email seeking concurrence to:

rselina@berrymoorman.com and a copy to her assistant

meadjenn@hotmail.com attorney for private parties
As of this filing the (P) has not heard back from these defendants via email

A copy of this motion has been served on the below defendants after
calling same to see if they agree with (Ps’) position this 12/15/23

Mark Straetmans/ Rachel Selina 255 E Brown St #320 Birmingham, MI

48009 tel 2486459680

mstraetmans@berrymoorman.com

rselina@berrymoorman.com

* Case 2:22-cv-10918-MFL-APP ECF No. 98, PagelD.2040 Filed 12/20/23 Page 100 of 100

Jenifer Mead PO Box 806042 St Clair Shores, MI 48080 tel
3134851250

meadjenn@hotmail.com

Law Offices of Thomas H. Stidham. 1401 W Fort St. Rm 1006. Detroit,
MI 48233. Telephone: (248) 303-0306. Fax: (313) 832-7661.

Tsstidham@hotmail.com
Respectfully submitted,
ower ,pro se Eligabeth
Nelson pro se
CERTIFICATE OF SERVICE

A copy of this motion has been served on the below defendants after
calling same to see if they agree with (Ps’) position this 12/15/23

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Tsstidham@hotmail.com
Albert Thrower ,pro se ipatek Nelson pro se

